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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS ,
                                    AUSTIN DIVISION
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                                                                              cjL,y,6p.
LUIS TEJERO,
                         Plaintiff,
-vs-                                                                      CAUSE NO.:
                                                                         AU-16-CV-767-SS
PORTFOLIO RECOVERY ASSOCIATES
LLC and WESTERN SURETY COMPANY,
               Defendants,



                                               [I) 1 I)   JI



          BE IT REMEMBERED on this day the Court reviewed the file in the above-styled cause,

and specifically Defendants Portfolio Recovery Associates, LLC ("PRA) and Western Surety

Company ("Western")"s (collectively "Defendants") Notice of Contentions [#81], as well as

Plaintiff Luis Tejero ("Tejero")'s Notice of Contentions [#82.]. Having reviewed the documents,

the governing law, and the file as a whole, the Court now enters the following opinion and

orders.

                                             Background

I.        Factual History

          As the Court previously recounted, this lawsuit concerns PRA's efforts to collect

Plaintiffs outstanding credit card debt (the Debt) after Plaintiff defaulted. Compl.   [#11   ¶J 13-22.
          On January 29, 2016, PRA received a faxed letter listing Plaintiff as the sender and

stating the following:

       I am writing to you regarding the account referenced above.  refuse to pay this debt. My
                                                                     1

       monthly expenses exceed my monthly income; as such there is no reason for you to
       continue to contacting me, and the amount you are reporting is not accurate either. If my
       circumstances should change I will be in touch.


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Id. [#1-1] Ex. B (Debt Letter). Sometime during March 2016, PRA informed a consumer

reporting agency of the Debt. Pl.'s Mot. Summ. J. [#18] at 3. PRA reported a balance of

$2,211.00 and did not indicate the Debt was disputed. Id.

II.     Procedural History

        On June 24, 2016, Plaintiff filed a complaint in this Court alleging violations of the Fair

Debt Collection Practices Act (FDCPA), 15 U.S.C.                   §   l692-1692p, and the Texas Debt

Collection Act (TDCA), Texas Finance Code                  392.001-392.404, against PRA and Western.

Compi. [#1]. Plaintiff claimed PRA violated the FDCPA and TDCA by failing to report the Debt

was disputed. Compi. [#1] ¶J 12-3 8.' Western is the surety company for the bond PRA has on

file with the Texas Secretary of State. Id. ¶ 11.

        Plaintiff filed a motion for summary judgment, which the Court denied as fact issues

remained. Order of Apr. 6, 2017 [#27]. Subsequently, Defendants filed a motion for summary

judgment, which the Court granted in part and denied in part. Order of July 27, 2017 [#3 6]. In

particular, the Court found Plaintiff had no standing for his TDCA claim because Plaintiff

offered no evidence he suffered actual damages, a necessary condition to establish a TDCA

claim. Id.at 7-9. On the other hand, the Court denied sunmiary judgment on Plaintiff's FDCA

claim because a fact issue existed concerning whether Plaintiff actually disputed the Debt via the

Debt Letter. Id. at 10-11. Likewise, the Court denied Plaintiff's motion for reconsideration of his

summary judgment motion. Id. at 9-11.

        Trial was set for May 2018, but the parties filed a joint notice of settlement early in

February 2018. Settlement Notice [#39]. The Court then ordered both parties to submit motions

for attorneys' fees. On April 2, 2018, the Court ordered Tejero pay Defendants' attorneys' fees

          'The FDCPA prohibits "any false, deceptive, or misleading representation or means in connection with the
collection of any debt," which includes a false representation of "the character amount or legal status of any
debt.. . ." 15 U.S.C. § 1692e.
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after concluding the lawsuit had been brought in bad faith and for purposes of harassment. Order

of Apr. 2, 2018 [# 52] at 5-8. Tejero appealed this ruling on July 13, 2018. See Appeal of Final J.

[#74].

             On April 6, 2020, the Fifth Circuit issued an opinion reversing this Court's determination

on attorneys' fees, finding that the Court had abused its discretion in levying sanctions against

Tejero under Rule       11   of the Federal Rules of Civil Procedure and that Tejero had not brought his

FDCPA suit in bad faith. See Tejero           v.   Portfolio Recovery Assocs., 955 F.3d 453, 461-62 (5th

Cir. 2020). It then remanded the case back to this Court to determine whether Tejero was entitled

to attorneys' fees for bringing a "successful action" under 15 U.S.C.         §   1692k(a)(3).

                                                      Analysis

I.           Legal Standard

A.           Attorneys' Fees Under 28 U.S.C.        § 1927

             Under 15 U.S.C.    §   1692k(a), a debt collector who fails to comply with any provisions of

the Fair Debt Collections Practices Act ("FDCPA") may be liable to a debtor for (1) "any actual

damage sustained by such person as a result of such failure," and (2) "such additional damages

as the court may allow, but not exceeding $1,000." Id.              §   l692k(a)(l)(2). Furthermore, if a

debtor brings a "successful action to enforce the foregoing liability," the debtor is entitled to "the

costs of the action, together with a reasonable attorney's fee as determined by the court." Id.

§    1   692k(a)(3). The Fifth Circuit has yet to determine "whether a private settlement renders the

action 'successful' under § 1692k(a)(3)." Tejero, 955 F.3d at 462.

II.          Application

             Tejero raises three arguments for why the private settlement in this case constitutes a

"successful action" under the FDCPA. None are convincing.



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         First, Tejero argues the plain and ordinary language of the statute dictates that a

"successful action" occurs whenever a debt collector pays an amount to the debtor that is equal

to the amount the debtor would have from a favorable judgment. Pl.'s Notice of Contentions

[#821 at 1. But this reading would force the Court to interpret §              1   692k(a)(3) as mandating

attorneys' fees for "successful action[s] to enforce the foregoing liability or its equivalent," and

there is simply no basis for adding such language. Instead, the statute's text points to the only

circumstance in which debtors may receive their attorneys' fees in an FDCPA action: where they

have successfully "enforced the foregoing liability." In other words, unless a debtor can show

actual or additional damages, the debtor is not entitled to attorneys' fees.

         This is precisely the Fifth Circuit's holding in Johnson      v.   Eaton, 80 F.3d 148 (1996). In

that case, a debtor prevailed against a debt collector on summary judgment but received no actual

or additional damages. Id. at 150. The debtor then moved for attorney's fees under

§   1682k(a)(3), which was granted by the district court. Id. The Fifth Circuit reversed, holding

that although the debtor had demonstrated the debt collector had violated the FDCPA, she had

"failed to enforce any liability for actual or additional damages" against the debt collector and

therefore "[did] not meet the explicit requirement of    §   1   692k(a)(3) that she bring a 'successful

action to enforce the foregoing liability." Id. at 151. Rejecting other circuits' interpretation of

the FDCPA as awarding attorneys' fees where no injury had been proven, the Fifth Circuit noted

that in an FDCPA case

         [T]he most a plaintiff can win is actual damages, additional damages[,] and
         attorney's fees and costs. However, this does not mean that every time a violation
         occurs, a plaintiff will win all three. The language of the statute places explicit
         conditions on an award of additional damages which must be approved by the
         court and attorney's fees which are only available where the plaintiff has
         succeeded in establishing that the defendant is liable for actual and/or additional
         damages."



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Id. (emphasis added). In this case, Tejero has not even received the judicial imprimatur of

a grant of summary judgment to show he has proved an injury or that Defendants are

liable for actual or additional damages. Thus, as explained by the Fifth Circuit, he is not

eligible to receive his attorney's fees.

        Tejero' s second argument resists this point by mischaracterizing the holding in Johnson.

Tejero insists Johnson held that "[t]he key to a successful action is not whether a judge or jury

found that [a debt collector] violated the FDCPA, but whether [the debt collector] paid plaintiff

an amount equal to the damages available to him under the statute." Pl.'s Notice of Contentions

[#82] at 2. As explained above, it is true Johnson held that showing a technical violation alone is

insufficient to support an award of attorney's fees, but it did not hold that finding a violation was

irrelevant. Indeed, for a debtor to win an award of actual    damageswhich Johnson states        is the

prerequisite for attorney's fees under     §   1   692k(a)(3)the debtor must first show the debt
collector violated the FDCPA. Tejero does not argue the settlement constitutes a finding that the

debt collector violated the FDCPA, and he has consistently been unable to articulate any injury

he suffered as a result of Defendants' actions. Consequently,     §   1682k(a)(3)'s plain text and its

interpretation by the Fifth Circuit in Johnson demonstrate the impropriety of awarding Tejero

attorney's fees.

        Finally, Tejero appeals to policy, contending that "[i]f a favorable settlement does not

constitute a 'successful action,' FDCPA plaintiffs will stop settling their cases," which will lead

to the courts being "clogged with unsettled disputes about $1,000 claims, with plaintiffs refusing

to settle for fear of losing the right to seek attorney's fees." P1.'s Notice   of Contentions [#82] at

3. Even   if the Court were inclined to the merits of this policy argument, Johnson ably explains

the countervailing policy consideration:
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       Reading the FDCPA as requiring attorney's fees to be paid in actions where the
       plaintiff fails to prove damages, rewards lawyers for bringing suits to stop
       behavior that, by definition, has caused legal injury to no one. Our interpretation
       of the statute will require attorneys to look for more than a technical violation of
       the FDCPA before bringing suit and will deter suits brought only as a means of
       generating attorney's fees.

Johnson,   80 F.3d at 151. Thus,   if the cost of declining to award attorney's fees to settling parties

is that fewer technical violations   of the FDCPA reach the courts, Johnson indicates that is a cost

courts should be willing to pay.

                                              Conclusion

       Because Tejero failed to prove he was liable for actual damages or additional damages,

he is not eligible to receive attorney's fees under   §   1692k(a)(3).

       Accordingly,

                IT IS ORDERED that Plaintiff Luis Tejero TAKE NOTHING as attorney's fees

       from Defendants Portfolio Recovery Associates, LLC and Western Surety Company.



       SIGNED this the 1st day of June 2020.




                                                    SArI            SI'
                                                    SENIOR UNITED STATES DISTRICT JUDGE
